          Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 1 of 8



                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS,              )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        ) Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )       Redacted
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

  OPPOSITION TO MOTION TO STRIKE PLAINTIFF’S NOTICE OF ADDITIONAL
  RECORD EVIDENCE AND CROSS-MOTION FOR LEAVE TO FILE THE NOTICE
        AND FURTHER NOTICE OF ADDITIONAL RECORD EVIDENCE

       On December 14, 2017, Intervenor, the House Permanent Select Committee on

Intelligence (“Committee”) filed a Motion to Strike Plaintiff’s Notice of Additional Record

Evidence (Dkt. 48). The Committee’s Motion is largely a substantive rebuttal of the Notice of

Additional Record Evidence (“Notice”) (Dkt. 45) filed by Plaintiff Fusion GPS (“Fusion”) on

December 12, 2017 that it seeks to strike. Fusion respectfully requests that the Court deny the

Committee’s Motion and grant its Cross-Motion for Leave.

       On December 18, 2017, pursuant to Local Rule 7(m), counsel for Fusion conferred with

the Committee, who indicated that the Committee opposes this Cross-Motion for Leave, and

with Defendant Bank’s counsel, who does not oppose this Motion. A proposed order is attached

and oral argument is not requested.
             Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 2 of 8



        1.      Local Rule 65.1(c) on its face only applies to affidavits, and not to Fusion’s

Notice or Further Notice of Additional Record Evidence (“Further Notice”) (Dkt. 49). Fusion

did file declarations in connection with the Notice and Further Notice, including the declarations

of Rachel F. Cotton (Dkt. 45-1) and Steven M. Salky (Dkt. 49-1), but these merely authenticated

exhibits and did not contain factual material. The declaration of Glenn R. Simpson (Dkt. 45-15)

did provide a few new facts, but only those necessary to contextualize the new evidence set forth

in the Notice, which is based on media reports that are judicially noticeable. Fusion therefore

respectfully seeks leave to file the Notices and declarations here.

        2.      The Committee’s motion also should be denied, and Fusion’s cross-motion should

be granted, because the information presented in the Notice only emerged since the November

30, 2017 hearing in this matter and is highly relevant to the issues before the Court. “Motions to

strike, as a general rule, are disfavored.” Stabilisierungsfonds Fur Wein v. Kaiser Stuhl Wine

Distributors Pty. Ltd., 647 F.2d 200, 201 (D.C. Cir. 1981). Indeed, the Federal Rules favor

adjudication on the merits, the publicly available information proffered is judicially noticeable,

and it is well within the Court’s discretion to consider such evidence. See Sataki v. Broad. Bd. of

Governors, 733 F. Supp. 2d 22, 39 n.17 (D.D.C. 2010) (exercising discretion to consider

materials filed in violation of LCvR 65.1(c) to the extent relevant); Washington Post v.

Robinson, 935 F.2d 282, 291 (D.C. Cir. 1991) (taking judicial notice of newspaper articles

regarding an “ongoing criminal investigation” and an individual’s “involvement and cooperation

in that investigation”).

        The circumstances here are extraordinary, and before the Court are weighty issues of the

constitutional limits of Congress’s investigative powers. As the Committee is aware, the

Congressional investigation underlying this action and the related Senate and Special Counsel



                                                  2
            Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 3 of 8



investigations are fast-moving, and media coverage of emerging facts is relentless. Over the past

few weeks, new, relevant evidence has come to light at a brisk pace, some of it as a result of

apparent leaks from the Committee itself targeting Fusion. None of the new evidence presented

in Fusion’s Notice could have been brought to the Court’s attention before the hearing on

Fusion’s motion, and it is in the interests of the parties, the Court, and the public for the issues

here to be decided on a complete record.

       3.      Moreover, the Committee will suffer no prejudice if the new evidence is

permitted. Though styled as a motion to strike, the Committee’s December 14 filing was, for all

practical purposes, a thorough substantive opposition to the Notice joining issue on the facts and

the law. See Nwachukwu v. Karl, 216 F.R.D. 176, 180 (D.D.C. 2003) (denying plaintiff’s

motion to strike, in part, because plaintiff “failed to raise any viable prejudice arguments”).

       4.      In any event, by picking through each piece of new evidence and arguing that

some of it does not directly mention the Committee, the Committee misses the point. There is

evidence that the Committee is coordinating with the President, his personal lawyers, and the

Senate Judiciary Committee (Exs. A-C, F, M),1 to misdirect attention to Fusion and its associates

in an effort to punish and discredit Fusion, due to their perceived role in exposing the ties

between the Trump campaign and the Russians (Exs. I-M). This coordinated effort includes the

subpoena to Fusion’s bank and the apparent leaks from the Committee (Exs. J-M), and it has




1
        Indeed, as yet a further example of the Senate Judiciary Committee’s acute interest in
these proceedings, on December 14, 2017, Fusion filed, at the request of the Senate Judiciary
Committee’s Chief Investigative Counsel, its Further Notice of Additional Record Evidence.
Dkt 49.

                                                   3
          Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 4 of 8



been amplified in recent days by attacks on the FBI and Justice Department by members of

Congress, the President, and his lawyers.2

       The Committee even goes so far as to suggest that Fusion “unquestionably engaged in

precisely the type of Russian collusion that lies at the heart of” the investigation. Mot. at 5. This

nonsensical and irresponsible theory shows just how far the Committee’s inquiry has gone off

the rails and entered improper territory in order to justify the punishment of a company deemed

partially responsible for exposing the Trump campaign’s ties to the Russian government.

       Rather than focusing on Russian-directed activity that was aimed at electing Mr. Trump

to the presidency, as is recognized to have occurred by the U.S. intelligence community, the

Committee has now revealed that it is trafficking in baseless conspiracy theories. That

underscores why the subpoena at issue here is an abuse of congressional investigatory power that

falls squarely within the test in Watkins v. United States, 354 U.S. 178 (1957), which – contrary

to the Committee’s Motion to Strike (Dkt. 45 at 3-4) – must be applied here because Fusion is

not in a position to resist the subpoena served on Defendant Bank.3 The subpoena at issue here

is an improper distraction from the real investigation.



2
         In what is purported to be an investigation into Russian interference in the 2016 election,
it is remarkable that the only subpoena served on a financial institution by the Committee
appears to be of Fusion’s bank, in order to be able to obtain records of the payments made by
law firms and other clients on matters the Committee has no basis for believing are related to
Russia. Ex. H to the Decl. of Rachel F. Cotton (Dkt. 45-1).
3
         The Committee’s argument that Watkins v. United States, 354 U.S. 178 (1957), is
inapplicable here is incorrect. First, Watkins is not limited to contempt proceedings, Mot. at 3-4,
but rather addressed the general limits on Congress’s investigative authority, including those
limitations enumerated in the Bill of Rights. See Watkins, 354 U.S. at 187-88 (noting that
Congress cannot merely act to “punish” and that its investigative powers are unquestionably
limited by the Bill of Rights); id. at 200 (Congress has “no . . . power to expose for the sake of
exposure.”). Those constraints apply to any congressional act, not merely to contempt
proceedings in the courts or in Congress itself. Moreover, Fusion is not in position to resist the
subpoena itself as the subpoena was served on a third party, so contempt proceedings may not
ever occur here. That Congress has no means of holding Fusion itself in contempt, however,

                                                  4
            Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 5 of 8



       5.




does not prohibit Fusion from seeking relief particularly where, as here, a third party’s
compliance with a congressional subpoena will directly infringe upon Fusion’s constitutional
rights. See United States v. AT&T, 567 F.2d 121, 129 (D.C. Cir. 1977) (citing Watkins in context
of third-party suit to enjoin AT&T’s compliance with congressional subpoena). Second,
contrary to the Committee’s contention, Kilbourn v. Thompson, 103 U.S. 168 (1881), does not
detract from Plaintiff’s argument. That Kilbourn concluded that the contempt resolution issued
in that case trampled on the separation of powers—the resolution “was in its nature clearly
judicial,” 103 U.S. at 192—does not somehow license Congress to violate other provisions of the
Constitution. Finally, the Committee’s attempt to distract this Court by contending that its
purported authority to pursue the broad “subject matter” of the investigation here should end this
case, Mot. at 5, simply seeks again to trample the analysis in Watkins. As the Court did in
Watkins, this Court must assess the particular “question under inquiry,” and the Committee’s
words and conduct pertaining to that question in determining whether Congress has acted
unconstitutionally. Watkins, 354 U.S. at 214-15. Fusion has introduced ample evidence that the
subpoena falls far beyond the constitutional boundaries that Watkins applied.	

                                                5
          Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 6 of 8




Plaintiff made no such explicit waiver here, and, in any event, all Fusion is seeking here is a

modest delay so that it can file a full-blown motion for stay pending appeal if the Committee

prevails in its quest for these bank records.

       For the foregoing reasons, the Court should deny the Committee’s Motion to Strike

Plaintiff’s Notice of Additional Evidence and grant Plaintiff’s Cross-Motion for Leave to File the

Notice and Further Notice.

 Dated: December 18, 2017                            Respectfully submitted,

                                                     /s/ Theodore J. Boutrous, Jr.
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                                                 6
Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 7 of 8



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                                  Counsel for Plaintiff BEAN LLC, d/b/a
                                  FUSION GPS




                              7
         Case 1:17-cv-02187-RJL Document 51 Filed 12/18/17 Page 8 of 8



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of December 2017, the foregoing was filed on the

Court’s CM/ECF system, thereby serving all counsel of record in this matter.




                                                   /s/ Theodore J. Boutrous, Jr.




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